                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

 LEWIS C. CAIN,                                   )
                                                  )
         Plaintiff,                               )
                                                  )
 v.                                               )    NO. 3:18-cv-00521
                                                  )
 CITY OF MT. JULIET,                              )
 MICHAEL CORDLE, and                              )
 MICHAEL WENTZELL                                 )
                                                  )
         Defendants.                              )

                                             ORDER

        A telephonic status conference is set for April 1, 2020, at 10:00 a.m.

        The parties shall call 1-888-278-0296, and when prompted enter access code 6564835# to

participate in the call. If a party has difficulty connecting, please contact chambers at 615-736-

7013.

        IT IS SO ORDERED.



                                              ____________________________________
                                              WAVERLY D. CRENSHAW, JR.
                                              CHIEF UNITED STATES DISTRICT JUDGE




                                                 1




  Case 3:18-cv-00521 Document 106 Filed 03/24/20 Page 1 of 1 PageID #: 1429
